                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                              DOCKET NO. 3:95-cv-00005-FDW


 UNITED STATES OF AMERICA                         )
                                                  )
        vs.                                       )
                                                  )
 WILLIAM EDWARD MATTHEWS,                         )                    ORDER
                                                  )
                Defendant.                        )
                                                  )

       THIS MATTER comes now before the Court upon Defendant’s Motion to Alter Terms of

Supervision (Doc. No. 727). Defendant’s Motion is hereby GRANTED.

       Defendant is currently serving a term of four months in a halfway house, located in Charlotte,

North Carolina, for violation of his supervised release. This location has presented logistical

difficulties for Defendant, as he works in Columbia, South Carolina, and must commute the distance

to and from work each day. Defendant, with the support of United States Probation Officer Clifton

Johnson, suggests that he be allowed to reside in South Carolina while still being subject to the

Probation Office of this District. The Court agrees with this balance—that Defendant should be

encouraged in his employment but that he must remain under the supervision of the Probation Office.

The Court therefore GRANTS Defendant’s Motion and alters the terms of his supervision to allow

for him to reside in South Carolina. However, Defendant’s residency in South Carolina will be

subject to drug testing by U.S. Probation Officers from this district or by Code-A-Phone.

       IT IS SO ORDERED.                          Signed: March 25, 2008




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